                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,         )
                                  )
                      Plaintiff,  )
                                  )
                v.                )                  No. 3:08-CR-47
                                  )                  (PHILLIPS/GUYTON)
JUAN ANGEL DIAZ, JR.,             )
FRANK SOUTO,                      )
VINCENT WILLIS,                   )
MARIA BEAVER,                     )
JOSE AUGUSTIN OROZCO MENDOZA, )
and BERNARDO LEAL-VALDEZ,         )
                                  )
                      Defendants. )


                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This cause came before the undersigned for an arraignment on the

Superseding Indictment [Doc. 56] on October 9, 2008. Assistant United States Attorney Tracee

Plowell was present on behalf of the government. Attorneys Sergio J. Sanchez, Steven Shope,

David M. Eldridge, James H. Varner, Jr., Mike Whalen, and Oscar Alvarez were present

representing Defendants Diaz, Souto, Willis, Beaver, Mendoza, and Leal-Valdez respectively.

       During the arraignment, the government moved to amend the following language contained

in the forfeiture allegation of Count Two:

               Defendants DAMIEN LOPEZ, also known as “Damien Garcia,” also
               know as “Damien Hernandez,” also known as “Juan,” FRANK
               SOUTO, VINCENT WILLIS, MARIA BEAVER, JOHN DOE, also
               known as “Poli,” and JOHN DOE, also known as “Nallo,”

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to make it identical to the way in which the defendants’ names are listed at the beginning of Count

Two:

               Defendants JUAN ANGEL DIAZ, JR., also known as “Damien
               Garcia,” also know as “Damien Hernandez,” also known as “Juan,”
               also known as “Damien Lopez,” FRANK SOUTO, VINCENT
               WILLIS, MARIA BEAVER, JOSE AUGUSTIN OROZCO
               MENDOZA, also known as “Poli,” and BERNARDO LEAL-
               VALDEZ, also known as “Nallo,”

in order to correct a typographical error. None of the defendants objected to the government’s

requested amendment.

       Accordingly, because the parties agree to the amendment of the indictment to correct a

typographical error, the government’s oral motion to amend the indictment is GRANTED. The

second paragraph of the Money Laundering Forfeiture Allegations in Count Two, which begins on

page five of the Superseding Indictment, shall read as follows:

                       Pursuant to 18 U.S.C. §§ 982(a)(1), 1956(a)(1)(A)(i), and
               1956(a)(1)(B)(i), Defendants JUAN ANGEL DIAZ, JR., also known
               as “Damien Garcia,” also know as “Damien Hernandez,” also known
               as “Juan,” also known as “Damien Lopez,” FRANK SOUTO,
               VINCENT WILLIS, MARIA BEAVER, JOSE AUGUSTIN
               OROZCO MENDOZA, also known as “Poli,” and BERNARDO
               LEAL-VALDEZ, also known as “Nallo,” shall, upon conviction,
               forfeit to the United States any and all property involved in a
               violation of 18 U.S.C. § 1956, and any and all property traceable
               thereto.

       IT IS SO ORDERED.

                                                     ENTER:

                                                          s/ H. Bruce Guyton
                                                     United States Magistrate Judge




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